 Case 2:18-cr-00095-Z-BR          Document 184          Filed 09/10/19    Page 1 of 1     PageID 554

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
      Plaintiff,                                    §
                                                    §
 v.                                                 §     Criminal Action No. 2:18-CR-095-Z-BR
                                                    §
 DANNY VORASANE (4)                                 §
                                                    §
      Defendant.                                    §

                   ORDER ADOPTING REPORT AND RECOMMENDATION
                           CONCERNING PLEA OF GUILTY

         On August 23, 2019, the United States Magistrate Judge issued a Report and Recommendation

Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant

Danny Vorasane filed no objections to the Report and Recommendation within the fourteen-day period

set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters of record in the

above referenced cause—including the elements of the offense, Factual Resume, Plea Agreement, and

Plea Agreement Supplement—and thereby determined that the Report and Recommendation is correct.

Therefore, the Report and Recommendation is hereby ADOPTED by the United States District Court.

Accordingly, the Court hereby FINDS that the guilty plea of Defendant Danny Vorasane was knowingly

and voluntarily entered; ACCEPTS the guilty plea of Defendant Danny Vorasane; and ADJUDGES

Defendant Danny Vorasane guilty of Count Eight in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(c).

Sentence will be imposed in accordance with the Court’s sentencing scheduling order.


         SO ORDERED, September 10, 2019.


                                                    _______________________________
                                                    MATTHEW J. KACSMARYK
                                                    UNITED STATES DISTRICT JUDGE
